
LOGUE, J.
Appellant seeks review of the trial court's order denying her motion to intervene following a hearing. We review the denial of the motion to intervene for an abuse of discretion. See Abujasen v. Dreke, 118 So.3d 235, 235 n.1 (Fla. 3d DCA 2013) (citing Barnhill v. Fla. Microsoft Anti-Trust Litig., 905 So.2d 195, 199 (Fla. 3d DCA 2005) ("The standard of review of an order on a motion to intervene is abuse of discretion.") ). Although a hearing was held on Appellant's motion, there is no transcript of the hearing. Under the circumstances of this case, in the absence of a transcript, we cannot reasonably conclude that the trial court abused its discretion, and therefore, we affirm. See Applegate v. Barnett Bank of Tallahassee, 377 So.2d 1150, 1152 (Fla. 1979) ; Shojaie v. Gables Court Prof'l Ctr., Inc., 974 So.2d 1140, 1141-42 (Fla. 3d DCA 2008).
Affirmed.
